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                                                                               U.S. DISTRICT COURT
              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                CENTRAL DIVISION


     EMILY SHARP RAINS,                               ORDER GRANTING IN PART AND
                                                      DENYING IN PART PLAINTIFF’S
           Plaintiff,                                 SHORT FORM MOTION TO COMPEL
                                                      AND/OR FOR SANCTIONS FOR
     v.                                               SPOLIATION (DOC. NO. 33)

     WESTMINSTER COLLEGE and MELISSA                  Case No. 2:20-cv-00520
     KOERNER,
                                                      Judge Jill N. Parrish
           Defendants.
                                                      Magistrate Judge Daphne A. Oberg


          Pro se Plaintiff Emily Sharp Rains brought this action against her former employer,

 Westminster College, and her former supervisor, Melissa Koerner (collectively, the

 “Westminster Defendants”), following her termination from a faculty position at Westminster

 College. (See generally First Am. Compl., Doc. No. 8-2.) Ms. Rains has asserted claims for

 discrimination and retaliation under Title VII of the Civil Rights Act of 1964 and breach of

 contract, among other claims. (Id. ¶¶ 77–87, 98–102.)

          Before the court is Ms. Rains’ Short Form Motion to Compel and/or for Sanctions for

 Spoliation, (“Mot.,” Doc. No. 33), which seeks to compel production of certain requested

 documents and seeks sanctions for alleged spoliation. The Westminster Defendants oppose the

 motion. (Opp’n, Doc. No. 42.) Based upon the parties’ briefing 1 and for the reasons explained

 below, the court grants the motion in part—to the extent it seeks production of documents




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  Pursuant to Local Rule DUCivR 37-1(b)(5)(B), the court finds oral argument unnecessary and
 decides the motion based on the parties’ written briefing.


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 responsive to Ms. Rains’ request for production (“RFP”) 20. The court denies without prejudice

 Ms. Rains’ request for sanctions.

        In her motion, Ms. Rains contends many documents responsive to her discovery requests,

 which the Westminster Defendants have asserted do not exist, either do exist or were destroyed

 in violation of the Westminster Defendants’ duty to preserve them. (Mot. 3, Doc. No. 33.) For

 example, she asserts they failed to produce documents which she believes must exist related to

 her termination, internal investigations, a bias complaint against Rick Haskell, and “the Bethami

 Dobkin letter.” (Id.) She also claims the Westminster Defendants failed to produce metadata, as

 she requested, and that they produced incomplete email threads without attachments. (Id.) Ms.

 Rains requests an order compelling production of these documents, or, in the alternative, entry of

 judgment against the Westminster Defendants for spoliation. (Id. at 1–2.) The court addresses

 these issues in turn below.

        Termination, Investigations, and Haskell Complaint (RFPs 4, 13, and 18)

        Ms. Rains filed a separate discovery motion specifically addressing her requests for

 documents concerning her termination, investigations of complaints by or about her, and a

 complaint against Rick Haskell—which are RFPs 4, 13, and 18 of her first set of discovery

 requests. (See Pl.’s Short Form Mot. to Compel. and for In Camera Review, Doc. No. 32.) The

 court ordered the Westminster Defendants to conduct a diligent search and to produce all

 nonprivileged documents responsive to these RFPs within thirty days. Because these RFPs are

 addressed in a separate order, the court does not address them here.

        Bethami Dobkin Letter (RFP 20)

        RFP 20 of Ms. Rains’ first set of discovery requests asks for “the letter received by the

 College between October 2018 and December 2019 alleging misconduct by Bethami Dobkin and




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 all documents and communications related to this letter (including any investigations conducted

 by the College in response to this letter).” (Ex. B to Mot., Def. Westminster College’s Second

 Suppl. Resps. to Pl.’s First Set of Disc. Reqs. 17, Doc. No. 34.) The Westminster Defendants did

 not object to this request but responded that they “have not identified or located any such

 documents.” (Id.)

        In their opposition, the Westminster Defendants state: “Regarding the Bethami Dobkin

 letter, Defendants searched for documents responsive to RFP 18 [sic] as written and identified no

 such document.” (Opp’n 3, Doc. No. 42.) They also refer to a declaration from Natalie Seely,

 the employee who coordinated the search for responsive documents, stating that “despite

 searching our records, we identified no document responsive to” RFP 20. (Ex. A to Opp’n to

 Pl.’s Short Form Mot. to Compel. and for In Camera Review, Decl. of Natalie Seely ¶ 9, Doc.

 No. 40-1.)

        Where no objection to the request has been raised, the Westminster Defendants must

 produce all documents in their possession, custody, or control responsive to RFP 20. See Fed. R.

 Civ. P. 34(a)(1). The Westminster Defendants have not demonstrated they have met this

 obligation. Their opposition refers to the wrong RFP, and Ms. Seely’s description of the search

 for documents is too vague to permit the court to determine whether a diligent search was

 conducted.

        Therefore, Ms. Rains’ motion is granted as to RFP 20. Within thirty days, the

 Westminster Defendants shall conduct a diligent search and produce all documents responsive to

 RFP 20. To facilitate this search, the parties shall meet and confer in good faith regarding search

 terms for electronically stored information (ESI). The Westminster Defendants shall also




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 provide a sworn statement to Ms. Rains that after a diligent search, all responsive documents

 have been produced.

        Metadata and Incomplete Email Threads

        In her discovery requests, Ms. Rains defines the word “document” to include a request

 for metadata. (See Ex. N to Reply, Pl.’s First Set of Disc. 2, Doc. No. 46-2.) The Westminster

 Defendants do not object to her request for metadata, but instead argue all metadata has been

 provided. (Opp’n 2, Doc. No. 42.) They also represent they “have produced all emails in their

 possession and have not destroyed or failed to preserve any.” (Id.)

        Ms. Rains’ motion does not adequately identify which of the documents produced by the

 Westminster Defendants lack metadata or contain incomplete email threads. Accordingly, her

 motion is denied without prejudice as to these issues. The court has ordered further searches and

 production of documents responsive to RFPs 4, 13, 18, and 20. If, after any supplemental

 production, Ms. Rains has reason to believe the Westminster Defendants have still failed to

 produce metadata and complete email threads with attachments, she should confer with the

 Westminster Defendants regarding the particular documents at issue. If a dispute remains after a

 meaningful conferral, Ms. Rains may file a new motion specifically identifying which documents

 she contends lack metadata or are incomplete, and outlining the basis for those contentions.

        Spoliation

        Ms. Rains has not demonstrated, at this stage, that the Westminster Defendants engaged

 in spoliation. Therefore, her motion is denied without prejudice as to her request for sanctions

 based on spoliation. If, after any supplemental production, Ms. Rains still contends spoliation

 has occurred, she may file a new motion after meaningfully conferring with the Westminster

 Defendants on this issue.




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        Conclusion

        Ms. Rains’ motion, (Doc. No. 33), is granted in part and denied in part, and the court

 ORDERS as follows:

        1.      The motion is granted as to RFP 20. Within thirty days, the Westminster

 Defendants shall conduct a diligent search and produce all documents responsive to RFP 20. To

 facilitate this search, the parties shall meet and confer regarding search terms for electronically

 stored information (ESI). The Westminster Defendants shall also provide a sworn statement to

 Ms. Rains that after a diligent search, all responsive documents have been produced.

        2.      The motion is denied without prejudice as to metadata, incomplete email threads,

 and alleged spoliation. If, after any supplemental production, Ms. Rains believes these issues are

 not resolved, she may file a new motion after meaningfully conferring with the Westminster

 Defendants.

         DATED this 1st day of February, 2022.


                                               BY THE COURT:


                                               ____________________________
                                               Daphne A. Oberg
                                               United States Magistrate Judge




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